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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                              FLORENCE DIVISION

United States of America         )             CR/A No. 4:19-cr-00579-DCC-1
                                 )
     v.                          )
                                 )             OPINION AND ORDER
Domonic Maurice Johnson.         )
                                 )
________________________________ )


       This matter comes before the Court on Defendant’s Pro Se Motion to Modify

Sentence and counseled Memorandum in Support thereof, seeking reduction of his

sentence pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). ECF Nos. 56, 63. The Government

filed a Response in Opposition. ECF No. 66. At the Court’s instruction, Mr. Johnson filed

additional supplemental information. ECF No. 70. For the reasons that follow, the Motion

is denied.

                                    BACKGROUND

       Mr. Johnson pled guilty on December 3, 2019, to distribution of cocaine base in

violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C) and possession of a firearm by a

felon in violation of 18 U.S.C. §§ 922(g)(1), 924(a)(2), and 924(e). ECF No. 41. On

January 22, 2020, he was sentenced to 42 months of imprisonment and three years of

supervised release. ECF No. 49.

       Mr. Johnson filed his pro se Motion for compassionate release on July 17, 2020.

ECF No. 56. The Court appointed counsel on the same day. ECF No. 57. On October

7, 2020, Mr. Johnson filed a counseled Memorandum in Support. ECF No. 63. The

Government responded in opposition on November 26, 2020. ECF No. 66. In response




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to an Order by the Court, Mr. Johnson supplemented his Motion with additional medical

information on April 28, 2021. ECF No. 70.

                                     APPLICABLE LAW

       As amended by the First Step Act, 18 U.S.C. § 3582(c)(1)(A)(i) permits

modification of a term of imprisonment upon motion of the defendant after exhaustion of

the defendant’s administrative remedies.           If “extraordinary and compelling reasons

warrant such a reduction” and the reduction “is consistent with applicable policy

statements issued by the Sentencing Commission,”1 the court may reduce a defendant’s

term of imprisonment and may impose a term of probation or supervised release that

does not exceed the unserved portion of the original term of imprisonment. Id. The

statute further instructs the court to “consider[] the factors set forth in [18 U.S.C. § 3553(a)]

to the extent that they are applicable.” Id.; United States v. Kibble, 992 F.3d 326, 331

(4th Cir. 2021) (“a district court may not grant a sentence reduction under 18 U.S.C.

§ 3582(c)(1)(A)” without considering the § 3553(a) factors). Therefore, in order to grant

compassionate release pursuant to § 3582(c)(1)(A)(i), the district court must (1) find that

“extraordinary and compelling reasons” warrant a reduction in the prisoner’s sentence,




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         Although U.S.S.G. § 1B1.13(1)(A) is entitled “Reduction in Term of Imprisonment
Under 18 U.S.C. § 3582(c)(1)(A),” by its terms it addresses only those requests brought
“[u]pon motion of the Director of the Bureau of Prisons.” It is therefore inapplicable to
compassionate release motions filed by defendants pursuant to § 3582(c)(1)(A)(i). United
States v. Kibble, 992 F.3d 326, 331 (4th Cir. 2021) (citing United States v. McCoy, 981
F.3d 271, 281 (4th Cir. 2020)). Because no applicable sentencing guideline exists,
“§ 3582(c)(1)(A)’s consistency requirement does not constrain the discretion of district
courts.” Id.

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and (2) consider the applicable § 3553(a) factors in light of the prisoner’s extraordinary

circumstances.2 Kibble, 992 F.3d at 330, 332.

                                      DISCUSSION

Exhaustion

       The First Step Act requires defendants to exhaust their administrative remedies

before moving the Court for compassionate release. See 18 U.S.C. § 3582(c)(1)(A). To

satisfy the exhaustion requirement, “incarcerated persons must first ask the [Bureau of

Prisons (“BOP”)] to file a motion for compassionate release on their behalf, and then,

either (1) appeal the BOP’s failure to bring a motion on their behalf, or (2) allow 30 days

to lapse after making the request[.]” Kibble, 992 F.3d at 330 n.2.

       The parties agree, and the Court finds, that Mr. Johnson has exhausted his

administrative remedies. Mr. Johnson wrote to the Warden on June 22, 2020, requesting

a reduction in sentence based on the COVID-19 pandemic and his medical issues. ECF

No. 63-1. More than 30 days have passed without response. The Court therefore

continues to the merits of Mr. Johnson’s motion.

Extraordinary and Compelling Reasons

       Mr. Johnson argues that he is at increased risk from COVID-19 due to his health

conditions, specifically type 2 diabetes, hypertension, and obesity. Courts in this district

and elsewhere have found that the COVID-19 pandemic may constitute an extraordinary

and compelling reason to reduce a defendant’s sentence in conjunction with specific risk



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        Because the statute “does not specify what conclusion a district court must draw
from the § 3553(a) factors in order to grant a motion for compassionate release,” the
Fourth Circuit has understood this language “as providing district courts with procedural
guardrails for exercising their discretion, not creating a substantive prerequisite to
compassionate release.” Kibble, 992 F.3d at 331 n.3.
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factors such as age or medical condition. See, e.g., United States v. Griggs, 462 F. Supp.

3d 610, 620 (D.S.C. 2020) (finding that the defendant’s health conditions, which included

hypertension, high cholesterol, diabetes, COPD, and obesity, in combination with his

advanced age, “clearly constitute extraordinary and compelling reasons for consideration

of a reduced sentence”); United States v. Bing, CR/A No. 1:15-cr-0637-JMC-1, 2020

WL4043610, at *6 (D.S.C. July 17, 2020) (noting that “courts have construed this

pandemic and the resulting severe illnesses as ‘extraordinary and compelling’”) (citation

omitted).

       The Centers for Disease Control and Prevention (“CDC”) have identified type 2

diabetes, severe obesity (defined as body mass index (“BMI”) ≥40 kg/m2), and “possibly”

hypertension as conditions that “can make you more likely to get severely ill from COVID-

19.”        See     COVID-19,      People       with     Certain   Medical    Conditions,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-

medical-conditions.html (last updated Apr. 29, 2021). The Court therefore concludes that

Mr. Johnson, if infected, is more likely than the average person to become severely ill

from COVID-19.

       However, medical records show that Mr. Johnson’s conditions appear to be

generally well-controlled and that he has received both doses of the Pfizer-BioNTech

vaccine against COVID-19. See ECF No. 70-5. The efficacy of this vaccine against

confirmed COVID-19 in individuals of Mr. Johnson’s age group (16 to 55 years) has been

estimated at 95.6%.        See Pfizer-BioNTech COVID-19 Vaccine Emergency Use

Authorization Review Memorandum, Food and Drug Administration, available at

https://www.fda.gov/emergency-preparedness-and-response/coronavirus-disease-2019-



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covid-19/pfizer-biontech-covid-19-vaccine (Dec. 11, 2020). In light of Mr. Johnson’s fully

vaccinated status, the Court does not find that the COVID-19 pandemic constitutes an

extraordinary and compelling reason for his early release. See, e.g., United States v.

Burks, (W.D.N.C. Apr. 13, 2021) (finding no extraordinary and compelling reason for early

release based on COVID-19 risk factors because the defendant had received both doses

of an effective vaccine). The Court further notes that FCI Butner Medium II, the facility at

which Mr. Johnson is housed, currently reports only a single COVID-19 infection among

its 1,412 inmates and zero cases among its staff.          See COVID-19 Cases, BOP,

https://www.bop.gov/coronavirus (last accessed May 5, 2021). This level of infection

does not reflect a significant risk to Mr. Johnson, particularly since he has received both

doses of a highly effective vaccine.

       After careful consideration of Mr. Johnson’s medical record, therefore, the Court

finds that the overall circumstances do not constitute an extraordinary and compelling

reason warranting his early release.

Section 3553(a) Factors

       The Court finds in the alternative that even if the COVID-19 pandemic in

combination with Mr. Johnson’s medical conditions constituted an extraordinary and

compelling reason within the meaning of the First Step Act, the § 3553(a) factors would

weigh heavily against his early release. In so finding, the Court gives particular weight to

the need for the sentence imposed to reflect the seriousness of the offense, which

involved the illegal possession of a firearm in addition to distribution of cocaine base. 18

U.S.C. § 3553(a)(2)(A).       The Court further finds, based on the individualized

circumstances of Mr. Johnson’s case, that the need to provide adequate deterrence and



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to protect the public from further crimes would be substantially jeopardized by his early

release. Id. § 3553(a)(2)(C). Therefore, even if the Court were to find an extraordinary

and compelling reason for early release, its consideration of the applicable § 3553(a)

factors—even in light of Mr. Johnson’s medical condition—would preclude any decision

to grant relief pursuant to § 3582(c)(1)(A)(i).

                                       CONCLUSION

       For the reasons set forth above, Defendant’s Motion for Compassionate Release

[56] is DENIED WITHOUT PREJUDICE. Defendant Johnson is free to file a renewed

motion in the event of a material change in circumstances warranting a reduction of his

sentence.

       IT IS SO ORDERED.

                                                       s/ Donald C. Coggins, Jr.
                                                       United States District Judge
May 5, 2021
Spartanburg, South Carolina




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